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~ AO 472    (Rev. 12/03) Order of Detention Pending Trial
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                                                 STATES DISTRICT COURT aUySDIS                                                     TCOURT,EDNC
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                          EASTERN                                     District of                           NORTH CAROLINA
          UNITED STATES OF AMERICA
                                 v.                                                ORDER OF DETENTION PENDING TRIAL
                     COREY HARMON                                               Case Number: 7:08-CR-88-F-1
                              Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3 I42(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                                Part I-Findings of Fact
o (I) The defendant is charged with an offense described in 18 U.S.c. § 3142(f)(I) and has been convicted ofa D federal offense D state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
      o a crime of violence as defined in 18 U.S.c. § 3I56(a)(4).
      o an offense for which the maximum sentence is life imprisonment or death.
          D an offense for which a maximum term of imprisonment often years or more is prescribed in
          D a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
                § 3 I42(f)(I )(A)-(C), or comparable state or local offenses.
o (2) The offense described in finding (I) was committed while the defendant was on release pending trial for a federal, state or local offense.
o (3) A period of not more than five years has elapsed since the 0 date of conviction D release of the defendant from imprisonment
      for the offense described in finding (I).
o (4) Findings Nos. (I), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
         safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                                 Alternative Findings (A)
fit (I) There is probable cause to believe that the defendant has committed an offense
          ~ for which a maximum term of imprisonment of ten years or more is prescribed in _2_1_U_S_C_8_4_1_,_8_4_6                                  _
         D under 18 U.S.c. § 924(c).
o (2) The defendant has not rebutted the presumption established by finding I that no condition or combination ofconditions will reasonably assure
         the appearance of the defendant as required and the safety of the community.
                                                                 Alternative Findings (B)
o (I) There is a serious risk that the defendant will not appear.
~ (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
          based on the nature of the charges contained in the indictment, the apparent strength of the government's case, the
          defendant's criminal history, including his extensive history of substance abuse, including times during which he was subject
          to random drug-testing by a parent, there is no condition or combination of conditions that can be imposed which would
          reasonably assure the safety of the community



                                             Part II-Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by      riI clear and convincing evidence D a prepon­
derance of the evidence that
for the reasons set forth above, there is no condition or combination of conditions that can be imposed which would reasonably
assure the court of the safety of another person or the community.




                                                    Part III-Directions Regarding Detention
     The defendant is committed to the custody ofthe Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance

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                       Date                             r              ~,                   Signature ofJudge
                                                       ROBERT B. JONES, JR., USMJ
                                                                                         Name and Title ofJudge
·Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section I of Act ofSep!. 15, 1980 (21 U.S.C. § 955a).




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